           Case 3:25-mj-00054-MRC                      Document 7              Filed 05/21/25        Page 1 of 1 PageID# 15
A0466A{Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                     United States District Court
                                                                       for the

                                                          Eastern District of Virginia

                 United States of America                                 )
                               V.
                                                                          )       Case No.    3:25MJ054
                                                                          )
                                                                          )
           LUIS ALONSO ARGUETA-DIAZ                                               Charging District’s Case No.           2:25MJ01415
                                                                          )
                           Defendant                                      )

                                               WAIVER OF RULE 5 & 5.1 HEARINGS
                                                         (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)             District of New Mexico -
Las Cruces Division


          I have been informed of the charges and of my rights to:

          (1)       retain counsel or request the assignment of counsel if 1 am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;

          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise
                    unless I am indicted — to determine whether there is probable cause to believe that an offense has
                    been committed;

          (5)       a hearing on any motion by the government for detention;

          (6)       request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
                      an identity hearing and production of the warrant.
                                                               ^ Ov,»5 ffvT~                          .                  be h-tlcj
                      a preliminary hearing^ Vi            *3_ f ^cii                      4V\(X'V D'tftTt'na                  -Te 4-
          □           a detention hearing.          'D                                                        ^
                                                                    VVdPcA Ct>wV.
          □           an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                      be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                      by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           5/19/2025
                                                                                           Defendant's signature



                                                                                     Signature of defendant's attorney



                                                                                    Printed name of defendant's attorney
